Case 7:17-cr-00601 Document 24 Filed on 05/04/17 in TXSD Page1of1

AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: AA-/7-@ #€- GOl-CZ| Date and time warrant executed: Copy of warrant and inventory left with:
M-17-0627-M 05/01/2017 0:00 am N/A

 

 

 

Inventory made in the presence of :

N/A

 

Inventory of the property taken and name of any person(s) seized:

All records or files contained in three (3) phones associated with Alexis LOPEZ including: Chats, Files (including voice
messages, text messages, videos, images, etc.), contact lists, and calls made and received.

United States District Cour
im District of Texas
Southem rer

MAY ~ 4 2017

David J. Bradley, Clerk

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the

designated judge.

Date:

 

 

05/04/2017 | C

Executing officer's signature

Carlos M. Delgado, Jr. / ATF Special Agent

 

Printed name and title

 

 
